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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                    fi
                                            §
                                            §
V.                                          §       CRIMINAL ACTION NO. H-10-197
                                            §
                                            §
SIDDARTH OBEROI                             §



                                        ORDER


          Pending are Defendant Siddarth Oberoi's Motion for Judgment of

Acquittal or for a New Trial                 (Document No. 177)' ~efendant's

Supplemental Motion           for    New    Trial      (Document No.      191),   and

Defendant's         Motion    for    Release       Pending   Sentencing    (Document

No. 194) .        The Government has filed a response in opposition to

each motion (Document Nos. 177, 191, 198)' and Defendant has filed

Replies        (Document Nos.        199,   200).       After   having    carefully

considered the motions and briefs, the record of                          the trial

proceedings, and the applicable law, the Court finds for the

reasons set forth below that Defendant's Motion for Judgment of

Acquittal or for a New Trial                     (Document No. 177)' Defendant's

Supplemental         Motion    for    New   Trial      (Document No.      191)'   and

Defendant's         Motion    for    Release       Pending   Sentencing    (Document

No. 194) should all be denied.

     -    Defendant Oberoi was charged in a superseding indictment,

along with one co-defendant, Steven T. Carr, with conspiracy to

interfere with commerce by threat or violence in violation of
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18 U.S.C. § 1951 (Count One), and interference with commerce by

threat or violence in violation of 18 U.S.C. 5 1951, 2 (Count Two) .

(Document No. 11).      Both Defendant Oberoi and Defendant Carr, who

were tried separately by different juries, were found guilty of

both counts . Defendant Carr' s conviction and sentence was affirmed

by the United States Court of Appeals for the Fifth Circuit, United

States v. Carr, 2012 WL 1003572, at *2 (5th Cir. Mar. 26, 2012)

(unpublished op.) . Defendant Oberoi is awaiting sentencing.

       Oberoi contends in his Motion for Acquittal that: (1) '[tlhe

Superseding Indictment does not charge, nor did the Government

prove, that there was an agreement between the defendant and co-

defendant Carr to rob Pagarani or otherwise affect interstate

commerce"; and (2) '[tlhe Government failed to prove any direct or

substantial indirect effect on interstate commerce."           Defendant's

Motion      for Acquittal   (Document No.    177), at 2, 6.         In his

Supplemental Motion for New Trial, Oberoi additionally claims that:

(1) 'it     was reversible error to allow the prosecutor to inject the

spectre of organized crime and the 'mafia' into [the] trial";

(2) "the evidence did not support [a] conviction for interference

with       interstate commerce";   (3) the    prosecutor made      numerous

improper comments and arguments during his closing argument;' and


       '
       Oberoi alleges that the prosecutor's comments shifted the
burden of proof, that the prosecutor's argument violated the
"Golden Rule," that the prosecutor made jingoistically charged
comments, and that the prosecutor improperly commented on the
credibility of the witnesses.
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(4) that his trial counsel was ineffective.          Supplemental Motion

for New Trial (Document No. 191) at 1, 5, 6-11, 11-25.

     On a post-verdict motion for judgment of acquittal, the Court


     must determine whether the relevant evidence, viewed in
     the light most favorable to the Government, could be
     accepted by a reasonably-minded jury as adequate and
     sufficient to support the conclusion of the defendant's
     guilt beyond a reasonable doubt.


United States v. Burns, 597 F.2d 939, 941 (5th Cir. 1979) .            On a

motion for new trial, FED.R. CRIM.P. 33 (a) provides that the 'court

may vacate any judgment and grant a new trial if the interest of

justice so requires." The late distinguished scholar Charles Alan
Wright succinctly described the separate standards that apply to a

motion for judgment of acquittal and motion for new trial as

follows :

          On a motion for judgment of acquittal, the court is
     required to approach the evidence from a standpoint most
     favorable to the government, and to assume the truth of
     the evidence offered by the prosecution. If on this
     basis there is substantial evidence justifying an
     inference of guilt, the motion for acquittal must be
     denied.

          On a motion for new trial, however, the power of the
     court is much broader. It may weigh the evidence and
     consider the credibility of witnesses.      If the court
     reaches the conclusion that the verdict is contrary to
     the weight of the evidence and that a miscarriage of
     justice may have resulted, the verdict may be set aside
     and a new trial granted.
          It has been said in older cases that on such a
     motion the court sits as a thirteenth juror. The motion,
     however, is addressed to the discretion of the court,
     which should be exercised with caution, and the power to
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     grant a new trial on this ground should be invoked only
     in exceptional cases in which the evidence preponderates
     heavily against the verdict.


3 CHARLESALAN WRIGHT,FEDERALPRACTICE
                                   AND PROCEDURES 5 5 3      (2d ed. 1 9 8 2 )

(footnotes with citations omitted); see also 3 WRIGHT,KING & KLEIN,

FEDERALPRACTICE
              AND PROCEDURE
                          § 5 5 3 (3d ed. 2004) (reprinting verbatim

Professor Wright's above quoted commentary).
     There was ample evidence at trial of an agreement between

Oberoi and his co-defendant Carr to rob or extort, or attempt to

rob or extort, money from the victim, and that such conduct

interfered with interstate commerce within the meaning of the

Hobbs Act.   Without recounting all the direct and circumstantial

evidence, suffice it to say that BNP Imports, owned by Gope

Pagarani, had brokered an international shipment of scrap metal to

buyers in India, and the transaction involved companies in Florida,

New Jersey, and Texas. Upon the shipment's arrival in India, the

containers held worthless landfill, not the expected scrap metal,

and the buyers would not pay for it.            This led to efforts by

Pagarani and other parties to recover their losses, which were not

immediately successful. The evidence was that Oberoi and Carr then
traveled by air to Houston from other states, that together they

surveilled Pagaranits home, and that they then confronted him at

his business location, where they assaulted him and forced him to
write checks to them; that one of the checks that they demanded the
victim to write was required to be made payable to Carr in the
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amount of $25,000, to whom the victim owed no money; that Oberoi

and Carr the next morning went together to a bank in Houston, where

they were videotaped standing together at the teller's counter, for

Carr to cash the $25,000 check; that the bank is a federally

insured financial institution that was headquartered in the State

of South Dakota; and that Defendants then traveled back to their

respective states--Oberoi,with his bundle of post-dated checks, to

Florida, and his accomplice Carr, having cashed the $25,000 check,

to New Jersey. The foregoing evidence, together with considerable

additional proof offered by the Government, viewed in a light most

favorable to the Government, could be accepted by a reasonably-

minded jury as adequate and sufficient to support a finding of

guilt beyond a reasonable doubt that Oberoi and Carr were engaged

together in a conspiracy to violate the Hobbs Act.                 Oberoils

sufficiency of the evidence claim provides no basis for either a

judgment of acquittal or a new trial.         See also United States v.

Carr, 2012 WL 1003572, at *2 (5th Cir. Mar. 26, 2012) (unpublished

op.) .

         In moving for a new trial, Defendant misleadingly asserts that

the prosecutor on "direct examination" asked the victim if Stephen

Carr      "could have   been   connected to    the   mafia?"     Actually,

Government counsel asked this question not on direct examination,

but on re-direct examination.       The Government never mentioned the

mafia even once during its entire direct examination of the victim.
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It was on Defendant's cross-examination of the victim, while

pressing him as to why he had not more promptly called the police
and reported the event, that the witness, recounting his fear for

his family and his child that kept him from promptly seeking the

arrest of the offenders, testified:


     A.    Well, I donrt know what - - what they were capable
           of doing that because, according to Mr. Carr, that
           he was a Mafia from New York. And I don't know
           what - -


Tr. at p. 69, 1. 12-14 (Document No. 188).             Defendant did not

object to the testimony he had elicited from the victim on cross-

examination.

     It was on re-direct examination then, that the Government

explored the mafia reference that had been introduced through

Defendant's cross-examination, namely, the victim's impression or
opinion "that Steve Carr could have been connected to the Mafia,"

and what he saw or heard or observed that gave him that impression.

The victim answered,


     A.    Well, he was talking about, basically, all the
           business that he has done in the past and connected
           with people in New Jersey.     And it's a lot of
           things - - lot of things that he said.      I don't
           remember - -

     Q.    Did he say anything in particular about your house
           or home, that contributed to this impression?
     A.    Yes. He said, ' I have some people parked outside
           your house, in a van; and you're not going to go
           home today if you" - -
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    Q.    He said he had some people?

    A.    Yes.
    Q.    And did he say - - did he use the word 'people"?

    A.    Yes.

    Q.    And did - - I think you said a moment ago he said
          something about he was connected with some people?

    A.    Yes. He was connected with Mafia in New Jersey,
          that's what he said.
    Q.    Now, did he actually say he was connected to the
          Mafia or did he say he was just connected with some
          people?

    A.    He said, 'connected     with some people"; but
          basically he was directing to Mafia. I mean, he - -
          he was talking about Italians and all that.

     Q.    So he didn't use the actual words "Mafia"; but his
           actions gave you that impression?

    A.     Exactly.

Tr. at p. 102, 1. 20 - p. 103, 1. 19 (Document No. 188). Thus, it

was the Government that on re-direct examination brought clarity

and specificity to the subject of the mafia--bringing out through

the victim that Carr had successfully conveyed an impression upon

the witness as to the fearsome implication of his "connections" but

never actually used the word, "mafia."         Further in his re-direct

examination Government counsel inquired about Steve Carr's previous

conduct at the diner in New Jersey, when Carr had acted in a
threatening manner. He was asked what he had observed at the diner
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that "caused you to be afraid and not want to do business with

[Carr] and Sid Oberoi?"       The victim answered:

    A.     Well, that's where they gave me the impression - -
           that's where they also gave me the impression that
           he's connected to people such as Mafia in New
           Jersey - - '


Tr. at p. 106, 1. 10-12 (Document No. 188). At this point, defense

counsel objected to use of "mafia," which at this time the Court

overruled with the assurance that Defendant would get [another]

chance to cross-examine. Defense counsel did cross-examine, and

confirmed again that Steve Carr had "never said he was with the

Mafia," and that his impression about Mr. Carr was based on " [tlhe

way he threatened." Tr. at 113, 1. 17 (Document No. 188).

     Oberoi relies primarily on United States v. Love, 534 F.2d 87

(6th Cir. 1976) for his argument that witness Pagaranits references
to "mafia" in describing his impressions of Steven Carr were so

prejudicial that Oberoi was denied a fair trial.             In Love, the

Sixth    Circuit   reversed     a   defendant's   conviction where     "the
prosecutor intentionally and for no proper purpose injected into

the trial the spectre of organized crime and the Mafia." Here, not
only was the first reference to the mafia elicited by defense

counsel during his cross-examination of Pagarani, but Pagaranits

testimony had a distinct purpose--to establish and explain his
fearful state of mind.        See e . g , United States v. Nakaladski, 481

F.2d 289, 301 (5th Cir.) (finding in a case involving extortion
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violations under the Consumer Protection Act and the Hobbs Act,

that while a witness's testimony about a defendant's connections to

"underworld elements, Mafia, and so forth . . . may elicit fear and

distaste in the minds of the average juror, it undoubtedly may also

cause such a response in the average debtor" and therefore the

witness's   testimony     'was    quite   relevant     in   showing     [the

defendant's] intent to put [the victim] in fear and in showing the

method of operation of the conspiracy." ) , cert. denied, 94 S.Ct.

570 (1973); United States v. Gardiner, 463 F.3d 445, 467-68 (6th

Cir. 2006) (distinguishing Love in a case involving a conspiracy to

violate the Hobbs Act and RICO where 'the             initial statements

regarding   the   mafia    were   made    by   witnesses,    not   by   the

government."); see also United States v. Martinez, 962 F.2d 1161,

1163-1166 (5th Cir. 1992) (finding, on plain error review, no

reversible error in the prosecution's questioning of a witness

about the witness1s affiliation with the Mexican Mafia in an effort

to show the witness's bias in favor of the defendant, who was also

a member of the Mexican Mafia); United States v. Larson, 526 F.2d

262, 265 (5th Cir. 1976) (finding relevant, in a perjury case,

testimony about the mafia associations, weapons and prior threats

by the person suborning perjury) ; United States v. Polizzi, 801

F.2d 1543, 1555 (9th Cir. 1986) ("The evidence presented at trial
regarding Matrangars violent character and his self-proclaimed
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Mafia connections was relevant to the issue of whether Matranga

used extortionate means to collect extensions of          redi it").^
     In sum, Oberoi and his Co-Defendant Carr made an unannounced,

surprise appearance in Pagarani's office in Houston, Oberoi from

Florida and Carr from New Jersey, with Carr dressed as a tough guy

wearing chains who then, among other things, employed force against

Pagarani, threatened to break Pagarani's head with a deadbolt lock

that he held in his fist, and asserted that he knew the location of

Pagarani's home while darkly claiming to have "connections." These

were the means by which Oberoi and Carr threatened and intimidated

Pagarani into writing a series of            large checks, which they

demanded.   That the victim under these circumstances should have

concluded that Carrls "connections" were or may be mafia is within

the norm of human experience, and the fact that the Government

undertook on redirect examination to clarify Pagarani's testimony

to show that Carr himself had never used the word "mafia," was not



       It is noted that defense counsel did not object to nor move
to strike Pagaranits "mafia" references when they were first made
during defense counsel s own cross-examination, see FED. R. EVID.
103 (a); nor did Defendant object to the Government's initial re-
direct examination in which the Government elicited testimony to
clarify that Carr never used the word "mafia," but rather by his
fearsome conduct and statements conjured up in the victim thoughts
of the mafia. Id. By time Defendant first objected to a "mafia"
reference, moreover, the evidence was uncontroverted that Carr had
not used that term, a fact further emphasized when Defendant
conducted re-cross examination of Pagarani, which the Court had
assured him he would be able to do. At a minimum, there was no
plain error affecting a substantial right of Defendant. See Rule
103 (e).
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at all unfairly prejudicial to Defendant. Under FED. R. EVID. 403,

the    probative    value    of   Pagarani's    testimony,    in   which   the

Government was       obliged to prove       that Oberoi took Pagarani's

property "by using actual or threatened force, or violence, or

causing the victim to fear harm, either immediately or in the

future," Court's Jury Instructions (Document No. 170) at 20, was

not substantially outweighed by the danger of unfair prejudice.

       Oberoi's complaints about various comments by the prosecutor

during closing argument were not objected to by defense counsel

when the argument was made.          In addition, none of the comments,

either singly or in combination, when viewed in connection with the

entire trial and the prosecutor's entire closing argument, can be

said to have affected the outcome of the trial, or resulted in a

miscarriage of justice.

        Oberoi's claim(s) that trial counsel was ineffective for a

variety of reasons is generally not ripe for consideration in

connection with a defendant's motion for new trial. United States

v. Medina, 118 F.3d 371, 373 (5th Cir. 1997).                 Oberoi's trial

counsel is an experienced and resourceful lawyer who provided a

vigorous defense.        To assess fairly an effectiveness of counsel

claim, the Court should have the benefit of a much better developed

record, including evidence of trial counsel's strategy and other

possible considerations, which are not fully evident from the trial
transcript.       Accordingly, because the record is insufficiently
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developed to allow full and fair consideration of Defendant's

ineffectiveness claims, the Court declines to do so at this time.

      After having weighed the evidence received at trial and

considered the credibility of the witnesses, and having carefully

considered all arguments presently submitted, the Court finds that

this is not one of those exceptional cases in which the evidence

preponderates heavily against the verdict or persuades the Court

that a miscarriage of justice has resulted. In sum, the interests

of justice do not require a new trial. FED. R. CRIM. P. 33.                   In

addition, the evidence, viewed in the light most favorable to the

Government, does not support an acquittal.

      In his Motion for Release Pending Sentencing (Document No.

194), Defendant Oberoi submits that the facts outlined in his

Supplemental Motion for New Trial           (Document No. 191) describe

changed circumstances that merit his release pending sentencing.

Defendant concedes that this matter is governed by 18 U.S.C.

§   3143 (a)(2), which provides that a person who has been found

guilty of a crime of violence, as was Defendant Oberoi, shall be

ordered detained unless--


      (A)   (i) the judicial officer finds there is a
                substantial likelihood that a motion for
                acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended
                 that no sentence of imprisonment be imposed on
                 the person; and
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       (B)    the judicial officer finds by clear and convincing
              evidence that the person is not likely to flee or
              pose a danger to any other person or the community.


18 U.S.C. § 3143(a) (2)(A) and ( B ) .

      First, there is no "substantial likelihood" that Defendant's

motions for acquittal or new trial will be granted; indeed, for

substantial reasons set out above, the motions are in all things

denied.
       Second, in its response the Government attorney declines to

recommend that        no   sentence of   imprisonment be      imposed upon

Defendant; to the contrary, Government counsel affirmatively states

that the Government "intends to recommend a sentence of imprison-

ment for the Defendant in this case."
       The above two findings require that Defendant be detained

pending sentencing without regard to any finding on whether he

would likely flee if released.             However, and notwithstanding
Defendant's countervailing arguments as to why Defendant would not

flee, the facts that Defendant is not a citizen of the United

States, that he has ties to his native India, and that he is facing
a possible sentence of some years of imprisonment, make it highly

unlikely that the Court could find from the elevated standard of

clear and convincing evidence that Defendant would not likely flee

if   he      were   released before   sentencing.       This need     not   be
determined, however, because 18 U.S.C. § 3143(a) ( 2 ) (A) requires the
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Court to detain Defendant while he awaits the imposition or

execution of his sentence.

     For the foregoing reasons, it is

     ORDERED that Defendant Siddarth Oberoi's Motion for Judgment

of Acquittal or for a New Trial (Document No. 177), Defendant's

Supplemental   Motion    for   New   Trial    (Document No.     191),   and

Defendant's    Motion   for    Release   Pending   Sentencing     (Document

No. 194), are in all things DENIED.3

     The Clerk will enter this Order, providing a correct copy to

all counsel of record.

     SIGNED at Houston, Texas, on this        )q Ey     of April, 2012.




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                                                         F

                                                    G WERLEIN, JR.




      Because the parties' detailed and thorough submissions have
permitted the Court to rule on the pending motions without
necessity for oral arguments or further hearing, Defendant's Motion
for Status Hearing on Pending Motions (Document No. 204) and
Amended Motion for Status Hearing on Pending Motions (Document No.
205) are both DENIED.
